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                                    1:20-cv-3185-SEB-MPB




                                           FILED
                                          12/11/2020
                                    U.S. DISTRICT COURT
                                  SOUTHERN DISTRICT OF INDIANA
                                     Roger A.G. Sharpe, Clerk
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